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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



ATSCO HOLDINGS CORP. ET AL.,                   )       CASE NO.1:15CV1586
                                               )
                       Plaintiff,              )       JUDGE CHRISTOPHER A. BOYKO
                                               )
               Vs.                             )
                                               )
AIR TOOL SERVICE CO. ET AL.,                   )       ORDER
                                               )
                       Defendant.              )

CHRISTOPHER A. BOYKO, J:

       This matter is before the Court to determine whether Plaintiffs’ claims are subject to the

indemnification claim procedure as contained in the Asset Purchase Agreement (“APA”).

       On July 20, 2017, the Court held a Final Pre-trial in the above-captioned case. At the

Final Pre-trial, Defendants argued Plaintiffs failed to provide timely notice of claims under the

express terms of the APA. Plaintiffs acknowledged that the notice was not submitted within the

time frame agreed to by the parties in the APA. According to Defendants, this failure to timely

submit a notice of a claim was a condition precedent to filing an action in court and precludes

Plaintiffs from asserting such claims in the above-captioned case. Plaintiffs requested an

opportunity to brief the issue. On July 21, 2017, the Court issued an order continuing the bench

trial set for July 31, 2017, and instead, ordered the parties to brief the notice issue. Those briefs

have been submitted and the matter is ripe for ruling.
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                                       Background Facts

        According to Plaintiffs’ Amended Complaint, Plaintiffs ATSCO Holdings Corp. and Hy-

Tech Machine, Inc. are Delaware corporations with principal places of business in Pennsylvania.

Defendant Air Tool Service Co. is an Ohio corporation and Defendant Rick Sabath, Air Tool

Service Co.’s sole shareholder, is a North Carolina resident. The case is here under the Court’s

diversity jurisdiction.

        The claims in this case arise out of an Asset Purchase Agreement executed on August 13,

2014, wherein Plaintiffs purchased nearly all the assets of Defendant Air Tool for $7,658,540.

The purchase price was to be adjusted pursuant to a closing statement and working capital

adjustment. According to Plaintiffs, Defendants have refused to satisfy the working capital

adjustment of $100,928. Pursuant to the agreement, $387,500 has been placed in escrow in

connection with the capital adjustments and to deal with certain disputes.

        According to Plaintiffs, Defendants made several representations and warranties

including: 1) the financial statements were true and accurate; 2) that there were no debts or

liabilities outside those reflected in the balance sheet or financial statements; 3) they were the

owners of all the Intellectual Property used in its business operations; 4) its inventories were

finished and saleable; and 5) it owned the assets listed in the agreement and these assets were

well maintained and in good working condition. After closing, Plaintiffs learned that these

representations and warranties were untrue.

        Plaintiffs allege that certain grinders and grinder part inventories intended for a customer,

ATA, were non-saleable. These were valued at $93,313. Two tools manufactured for Michigan

Pneumatic were non-saleable. These were valued in the agreement at $13,000. Parts


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manufactured for a company, TorcUp, were defective. These were valued at $8,000. Other parts

and assemblies valued in the agreement at $90,000, were unusable or unrepairable.

       Equipment sold to Plaintiffs also were in poor condition, causing loss to Plaintiffs. These

include a computerized numerical controlled manufacturing machine, the Okuma MacTurn, that

stopped manufacturing shortly after closing, costing Plaintiffs $32,714.36 to repair and will

require an additional $45,000 in parts and $30,000 in labor charges to make the machine

operational. Due to the machine’s break down, Plaintiffs have lost $100,000 in productivity.

Without a sufficient replacement, Plaintiffs cannot continue the manufacturing business costing

them an additional $130,000.     In addition, Defendants kept payments rightfully belonging to

Plaintiffs in the amount of $2,715.42.

       Despite Defendants’ representations, third parties have disputed the ownership of certain

intellectual property sold by Defendants to Plaintiffs. There is also $20,000 in liabilities owed to

third parties that Defendants did not disclose in the balance sheet.

       As a result, Plaintiffs allege Breach of Contract and Unjust Enrichment claims against

Defendants.

       Defendants counterclaim for the escrowed amount of $387,500, contending they made no

false representations. According to Defendants, Plaintiffs had ample opportunity prior to closing

to inspect all inventory, equipment, balance sheets and Accounts but failed to do so. Defendants

further allege Plaintiffs failed to take adequate steps to protect the assets and inventory post-

closing.   Defendants allege they complied with all contractual requirements, yet Plaintiffs have

breached the agreement by failing to release the escrowed funds.




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                               The Indemnification Clause

        According to Defendants, Plaintiffs’ claims for Breach of Contract and Unjust

Enrichment are subject to the Indemnification provision of the APA. The Indemnification clause

required Plaintiffs to provide notice per the terms of the APA prior to filing suit on any claims

arising therefrom. Defendants contend the claim notice is a condition precedent to the filing of

any claim. Furthermore, the parties agreed the Indemnification procedure would be the

exclusive remedy for any claims arising from the APA. Therefore, according to Defendants, all

Plaintiffs’ claims must be dismissed.

        According to Plaintiffs, they complied with the notice procedure as evidenced by

Plaintiffs’ timely emails to Defendants notifying them of issues that are the subject of this suit.

Plaintiffs further allege Defendants waived any rights to the claim procedure by failing to assert

their waiver defense until the eve of trial.

        According to the terms of the APA, both Plaintiffs and Defendants agreed to indemnify

each other for any claims arising out of the APA whether brought by each other or by third

parties against the parties. Section 11.2.1 established the indemnification requirements and reads

in pertinent part:

11.2.1 General Indemnification Obligation of Seller and Shareholder.

        From and after the date hereof, Seller and Shareholder, jointly and severally, will
        reimburse, indemnify and hold harmless Purchaser and its directors, officers,
        employees, shareholders, successors and assigns (an "Indemnified Purchaser
        Party") against and in respect of any and all Actions, damages, losses, diminution
        in value, deficiencies, liabilities, assessments, fines, costs and expenses, including
        court costs, costs and expenses of investigation and reasonable attorneys fees
        (collectively, "Losses"), incurred or suffered by any Indemnified Purchaser Party
        that result from, relate to or arise out of:(b) any misrepresentation or breach of
        warranty on the part of Seller and/or Shareholder under this Agreement; ( c)
        nonfulfillment of any agreement or covenant on the part of Seller and/or

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       Shareholder under this Agreement.

       Section 11.2.3 of the APA outlines the procedure to submitting a claim notice and reads

as follows:

       In the event that any Action, Claim or demand (collectively, "Claim") for which a
       party hereto has an obligation to provide indemnification (the "Indemnifying
       Party")would be liable to another party hereunder (the "Indemnified Party") is
       asserted against or sought to be collected from an Indemnified Party by a third
       party, the Indemnified Party shall notify the Indemnifying Party of such Claim,
       specifying the nature of the Claim and the amount or the estimated amount
       thereof to the extent then feasible (which estimate shall not be conclusive of the
       final amount of the Claim) (the "Claim Notice"). The Indemnifying Party shall
       thereupon, at its sole cost and expense, assume the control of the defense,
       settlement or compromise of the Claim against the Indemnified Party with
       counsel of Indemnifying Party's choosing that is reasonably satisfactory to
       Indemnified Party. The failure to timely give a Claim Notice shall not relieve
       Indemnifying Party of its or his obligations hereunder, except and only to the
       extent that such failure shall result in any material prejudice to Indemnifying
       Party in defense of the Claim.

       ( c) In the event an Indemnified Party should have a Claim against Seller
       and/or Shareholder hereunder that does not involve a Claim being asserted against
       or sought to be collected from it by a third party, the Indemnified Party shall send
       a Claim Notice with respect to such Claim to Seller and/or Shareholder.

       Section 13.6 describes how notice of a claim must be delivered:

       Any and all notices or other communications or deliveries required or permitted
       to be given or made pursuant to any of the provisions of this Agreement shall be
       deemed to have been duly given or made for all purposes when hand delivered or
       sent by certified or registered mail, return receipt requested and postage prepaid,
       overnight mail or courier, or telecopier.

       Section 11.5 describes that the Indemnification clause is the parties’ agreed upon sole and

exclusive remedy:

       ( c) The parties acknowledge and agree that their sole and exclusive remedy with
       respect to any and all Claims (other than Claims arising from fraud, criminal
       activity or willful misconduct on the part of a party hereto in connection with the
       transactions contemplated by this Agreement) for any breach of any
       representation, warranty, covenant, agreement or obligation set forth herein or

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       otherwise relating to the subject matter of this Agreement, shall be pursuant to
       the indemnification provisions set forth in this Article XI. In furtherance of the
       foregoing, each party hereby waives, to the fullest extent permitted under Law,
       any and all rights, Claims and causes of Action for any breach of any
       representation, warranty, covenant, agreement or obligation set forth herein or
       otherwise relating to the subject matter of this Agreement it may have against the
       other parties hereto and their Affiliates and each of their respective
       Representatives arising under or based upon any Law, except pursuant to the
       indemnification provisions set forth in this Article XI.

Timely Submission of Claim Notice

       The first issue is whether Plaintiffs submitted to Defendants a timely Claim Notice.

Plaintiffs submit a letter they sent to Defendants dated October 16, 2014 via email. That letter

describes claims as to the value of certain inventory and accounts receivable. It is the only

document offered by Plaintiffs evidencing a claim. According to the APA, the representations

and warranties contained in it survive the Closing date of August 13, 2014 for one year with

certain exceptions for taxes owed, litigation by third parties, Seller’s accounts, OSHA and

Environmental claims, and claims arising from an Employee benefit plan or COBRA.

       Pursuant to Section 11.5(c), the parties agreed this indemnification process is the sole and

exclusive remedy to any and all claims regarding breach of warranties and representations and

must be brought in accordance with the Claim notice requirements. Thus, any claims brought by

Plaintiffs regarding any alleged breach of warranties or representations that were not alleged in

the October 16, 2014 letter are outside the agreed upon survival period. Even if the Court were

to consider the filing of the Complaint in this action as a Claim notice, service was not attempted

on Defendants until August 17, 2015, outside the one year contractual survival period.

       While Defendants are correct that a Claim notice must be submitted, the Court finds the

October 16, 2014 letter, while purportedly brought in regards to the inventory provision of


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Section 2.3, was sufficient to place Defendants on notice of a claim. Section 11's claim notice

provision only requires that a Claim notify the Defendanta of the claim, specify the nature of the

claim and the amount or an estimate of the amount. The October 16th letter complies with these

requirements. Furthermore, under the APA, notice of a Claim shall be “hand delivered or sent

by certified or registered mail, return receipt requested and postage prepaid, overnight mail or

courier, or telecopier.” Here, the October 16, 2014 letter appears to have been delivered by

email. While not strictly compliant with the APA, this method of delivery provided actual notice

of a claim that the Court finds sufficient under the law. “The long and uniformly settled rule as

to contracts requires only a substantial performance in order to recover upon such contract.

Merely nominal, trifling, or technical departures are not sufficient to breach the contract.”

Stonehenge Land Co. v. Beazer Homes Invests., L.L.C., (2008) 2008-Ohio-148, ¶ 24, 177 Ohio

App. 3d 7, 18–19, 893 N.E.2d 855, 863 quoting Ohio Farmers' Ins. Co. v. Cochran (1922), 104

Ohio St. 427, 135 N.E. 537, paragraph two of the syllabus. “A court should confine the

application of the doctrine of substantial performance to cases where the party has made an

honest or good faith effort to perform the terms of the contract.” Burlington Resources Oil &

Gas Co. v. Cox (1999), 133 Ohio App.3d 543, 548, 729 N.E.2d 398, citing Ashley v. Henahan

(1897), 56 Ohio St. 559, 47 N.E. 573, paragraph one of the syllabus. “For the doctrine of

substantial performance to apply, the part unperformed must not destroy the value or purpose of

the contract.” Hansel v. Creative Concrete & Masonry Constr. Co., 148 Ohio App.3d 53, 2002-

Ohio-198, 772 N.E.2d 138, at ¶ 12. Here, notice of a claim by email did not destroy the purpose

of the contract and constitutes substantial performance in that it provided actual notice of a claim

to Defendant. See also Roger J. Au & Son, Inc. v. Northeast Ohio Regional Sewer Dist. (1986),


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29 Ohio App.3d 284, 292, 29 OBR 349, 504 N.E.2d 1209 ( “[t]here is no reason to deny the

claims for lack of written notice [if a party] was aware of [a disputed fact] and had a proper

opportunity to investigate and act on its knowledge, as the purpose of the formal notice would

thereby have been fulfilled”). In fact, this Court is hardpressed to find any meaningful difference

between delivery of a claim notice by fax versus email such that it would warrant dismissal of

Plaintiff’s claims. Therefore, the Court finds Plaintiffs did submit a timely claim notice to

Defendants.

Sole and Exclusive Remedy

        Defendants correctly state that the parties waived any and all rights, claims and causes of

action for breach of representation, warranty, covenant, agreement or obligation arising out of

the APA and the parties conceded that the indemnification clauses were the sole and exclusive

remedy under the APA. However, the indemnification clauses do not describe how a dispute

over a claim is determined, or by whom. The APA at Section 13.7 clearly contemplates legal

action in some form or another as it expressly states that disputes are to be determined under

Ohio law and that courts in Ohio have exclusive jurisdiction over any action. In the absence of

any designation of how a claim is determined, the Court finds the indemnification clause does

not deprive the Court of the authority to determine this dispute.

Waiver

        Plaintiffs allege Defendants are unable to assert the indemnification defenses at this point

in the litigation because they did not raise the issue in this litigation until the eve of trial. Here,

the parties’ APA contemplates compliance with the Indemnification clause’s claim procedure

requiring that notice of Claim be brought within the survival period. It further contemplates that


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the Claim procedure is the sole and exclusive remedy for disputes arising out of the agreement.

However, unlike an arbitration clause wherein the parties agree that disputes be resolved by an

outside arbiter, the APA’s Indemnification clause does not describe who is to make the

determination on the dispute. When coupled with the choice of law and jurisdiction clause that

expressly requires any action be determined under Ohio law under the jurisdiction of federal

court in the Northern District of Ohio or certain Ohio state courts, the Court finds no waiver of

this Court’s jurisdiction to determine the dispute. Nor does the Court find Defendants waived

the right to assert the defense of failure to comply with indemnification clause. Defendants’

Amended Answer lists the affirmative defenses of breach of contract, estoppel and failure to

comply with the terms of the inventory procedure. Defendants raised this issue more than one

month prior to trial and the Court continued the trial to allow the parties to brief the issue such

that no prejudice to Plaintiff has occurred. Therefore, the Court finds Defendants have not

waived their arguments on the applicability of the Indemnification clause.

       Lastly, the Defendants contend Plaintiff’s claims arising from Section 2.3.2.1 must be

dismissed for Plaintiff’s failure to comply with time requirements of that Section.

       Under Section. 2.3.2.1 of the APA, Plaitniffs were to conduct an Inventory Coun and

submit a roll-back of the Inventory Count to Defendants and after receipt of a Closing Statement,

submit to Defendants within thirty days thereafter any disputes. Section 2.3.2.1 reads as follows:

       Not later than twenty (20) days after the Closing Date, a physical count of the
       Inventory (the "Inventory Count") will be taken by Michael Sivula, Nicholas
       Russell and Michael Turick, or if for any reason any of such persons does not take
       such Inventory Count, such other persons as may be reasonably acceptable to
Purchaser and Seller (such acceptance, if any, to be evidenced by written agreement between
Purchaser and Seller), in accordance with past practices of Seller and other reasonable
procedures of Purchaser, as of the date of such Inventory Count. Purchaser shall give Seller
reasonable advance notice of the Inventory Count and allow Shareholder to be physically present

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during such count. Not later than twenty (20) days after the Closing Date, a roll-back (the "Roll-
Back") of the Inventory Count (the "Roll-Back Inventory") to the Effective Time will be
performed by employees of Purchaser. The Roll-Back will be performed in a manner consistent
with the method utilized in preparing the Audited Financial Statements. A statement setting
forth the Roll-Back Inventory based upon such Roll-Back (the "Inventory Acknowledgment"),
will be delivered by Purchaser to Seller not later than twenty (20) days after the Closing Date.
The Roll-Back Inventory, as set forth in the Inventory Acknowledgement is hereby deemed final,
conclusive and binding, absent manifest error.

            Section 2.3.3 set forth a procedure to resolve such disputes by means of an agreed upon

independent auditor. If the parties could not agree on an independent auditor, they would submit

the appointment decision to arbitration. Defendants refused to arbitrate the issue when Plaintiffs

submitted the matter to arbitration.

            The Court holds that claims arising out of Section 2.3.2.1 were subject to an arbitration

agreement procedure that Defendants refused to participate in. Plaintiffs never moved the Court

for an order to compel arbitration. Therefore, the Court deems this arbitration issue waived and

pursuant to the Indemnification clause those claims are properly before this Court and will be

adjudicated at trial.

            Therefore, for the foregoing reasons, the Court finds Plaintiffs’ claims are limited to

those claims made in the October 16, 2014 letter. Any claims, whether by Plaintiffs or

Defendants that were subject to the Claim notice requirements under the APA, will be foreclosed

at trial.

            In light of the above determination, the parties are ordered to confer and submit to the

Court no later than January 5, 2018 proposed, agreed upon dates for a final pretrial and trial.

Furthermore, if the parties believe that, in light of this opinion a settlement conference may be

productive, they shall also include in their submission proposed dates for a settlement

conference.

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      IT IS SO ORDERED.


                               s/ Christopher A. Boyko
                               CHRISTOPHER A. BOYKO
                               United States District Judge
Dated: December 20, 2017




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